              Case 1:16-cr-02006-EFS           ECF No. 358        filed 05/24/16      PageID.961 Page 1 of 1
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(3/15)

                                                                                                             FILED IN THE
                                  UNITED STATES DISTRICT COURT                                           U.S. DISTRICT COURT
                                                                                                   EASTERN DISTRICT OF WASHINGTON


                                                                for                                May 24, 2016
                                               Eastern District of Washington                           SEAN F. MCAVOY, CLERK



 U.S.A. vs.                   Russette, Kristina Dawn                        Docket No.             1:16-CR-02006-EFS-11

                                    Petition for Action on Conditions of Pretrial Release

COMES NOW Linda J. Leavitt, PRETRIAL SERVICES OFFICER presenting an official report upon the conduct of
defendant Kristina Russette, who was placed under pretrial release supervision by the Honorable U.S. Magistrate Judge Mary
K. Dimke in the Court at Yakima, Washington, on the 16th day of March 2016, under the following condition:

Condition #9: Defendant shall refrain from the use or unlawful possession of a narcotic drug or other controlled substances defined
in 21 U.S.C. § 802, unless prescribed by a licensed medical practitioner. Defendant may not possess or use marijuana, regardless
of whether the defendant has been prescribed a medical marijuana card.

            RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

The defendant is alleged to be in violation of her conditions of pretrial supervision in the Eastern District of Washington by:

Violation #4: The defendant is alleged to be in violation of her conditions of pretrial supervision in the Eastern District of
Washington, by consuming controlled substances, methamphetamine, opiates and marijuana, on or about May 18, 2016.

         REQUESTING THE INCORPORATION OF THE VIOLATION CONTAINED IN THIS PETITION WITH THE
                              VIOLATIONS PENDING BEFORE THE COURT
                                                                           I declare under the penalty of perjury that the
                                                                           foregoing is true and correct.
                                                                           Executed on:      May 24, 2016
                                                                  by       s/Linda Leavitt
                                                                           Linda J. Leavitt
                                                                           U.S. Pretrial Services Officer

THE COURT ORDERS
[ ]  No Action
[ X] The Issuance of a Warrant
[ ]  The Issuance of a Summons
[ ]  The incorporation of the violations contained in this
      petition with the other violations pending before the
      Court.
[ ]  Defendant to appear before the Judge assigned to the case.
[ X] Defendant to appear before the Magistrate Judge.
[ ]  Other
                                                                             Signature of Judicial Officer

                                                                             5/24/2016
                                                                             Date
